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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )           8:05CR145
                    Plaintiff,           )
                                         )
       vs.                               )            ORDER
                                         )
SALVADOR RANGEL,                         )
                                         )
                    Defendant.           )



       The Motion to Withdraw (Filing No. 107) is scheduled for hearing before the
undersigned magistrate judge at 10:00 a.m. on January 11, 2006, in Courtroom No. 7,
Second Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 9th day of January, 2006.
                                               BY THE COURT:
                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
